FILED
CHARLOTTE, NC

UNITED STATES DISTRICT COURT FOR THE DEC 18 2019
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION US DISTRICT COURT

WESTERN DISTRICT OF NC

 

DOCKET NO, 21% Gr 388-FOUW

 

 

)
UNITED STATES OF AMERICA )

) BILL OF INDICTMENT

Vv. )

) Violation:

) 18 U.S.C. § 2252A(a)(2)(B)
MAYURESH SURESH IYER ) 18 U.S.C. § 2252A(a)(5)(B)

) 18 U.S.C. §2

)

THE GRAND JURY CHARGES:

COUNT ONE

On or about July 27, 2019, in Mecklenburg County, within the Western District of North
Carolina and elsewhere,

MAYURESH SURESH IYER

did knowingly distribute and attempt to distribute, any child pornography, as defined in Title 18,
United States Code, Section 2256(8)(A), that has been mailed, and shipped and transported using
any means and facility of interstate and foreign commerce, and in and affecting interstate and
foreign commerce by any means, including by computer

All in violation of Title 18, United States Code, Section 2252A(a)(2)(B) and 2.
COUNT TWO

Between in or about July 2019 to in or about October 2019, in Mecklenburg County,
within the Western District of North Carolina and elsewhere,

MAYURESH SURESH IYER

knowingly possessed, and accessed with intent to view, any material that contained an image of
child pornography, as defined in Title 18, United States Code, Section 2256(8), that involved a
prepubescent minor and a minor who had not attained 12 years of age, and that has been mailed,
and shipped and transported using any means and facility of interstate and foreign commerce,
and in and affecting interstate and foreign commerce by any means, including by computer, and
that was produced using materials that have been mailed, and shipped and transported in and —
affecting interstate and foreign commerce by any means, including by computer.

All in violation of Title 18, United States Code, Section 2252A(a)(5)(B).
Case 3:19-cr-00388-FDW-DSC Document 1 Filed 12/18/19 Page 1 of 2

 

 
NOTICE OF FORFEITURE

Notice is hereby given of 18 U.S.C. § 2253. The following property is subj ect to
forfeiture in accordance with Section 2253:

a. Any visual depiction or book, magazine, periodical, film, videotape, or other matter
which contains any such depiction, which was produced, transported, mailed,
shipped, or received during the violations set forth in this bill of indictment;

 

b. Any property, real or personal, constituting or traceable to gross profits or other Ls
proceeds obtained from proceeds of the violations;

c. Any property, real or personal, used or intended to be used to commit or promote the
violations; and

d. If, as set forth in 21 U.S.C. § 853(p), any property described in (a), (b), or (c) cannot
be located upon the exercise of due diligence, has been transferred or sold to, or
deposited with, a third party, has been placed beyond the jurisdiction of the court, has
been substantially diminished in value, or has been commingled with other property
which cannot be divided without difficulty, all other property of the defendant/s to the
extent of the value of the property described in (a), (b) and (c).

A TRUE BILL:

 

R. ANDREW MURRAY
UNITED STATES ATTORNEY

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MARK T. ODULIO
ASSISTANT UNITED STATES ATTORNEY

 

 

Case 3:19-cr-00388-FDW-DSC Document 1 Filed 12/18/19 Page 2 of 2
